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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

 GRADILLAS COURT                            )
 REPORTERS, INC.,                           )
                                            )
                Plaintiff,                  )
                                            )
        v.                                  )     CIVIL ACTION NO. 2:17-CV-00597-RBS-DEM
                                            )
 CHERRY BEKAERT, LLP, ET AL.,               )
                                            )
                Defendants                  )

  NOTICE REGARDING ORAL ARGUMENT ON MOTION TO COMPEL (Dkt. No. 47)

        Plaintiff Gradillas Court Reporters, Inc. (“Gradillas”) reports as follows pursuant to Local

 Rule 7(E) consistent with its prior notice in its reply brief. Gradillas does not believe an oral

 argument is necessary because it believes the right to relief is clear based on the briefing.

 Gradillas has consulted with counsel for Defendants Cherry Bekaert, LLP and Sara Crabtree

 (“Cherry”) and Cherry has indicated a desire for a hearing. Accordingly, the parties will await

 instruction from the Magistrate Judge whether a hearing is desired.
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 Dated: April 11, 2018
                                       Respectfully submitted,

                                       GRADILLAS COURT REPORTERS, INC.


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 11, 2018, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system, which will then send a notification of such filing (NEF)

 to all counsel of record.

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